Case _2:.

\OOO\`|O\(J\-l>b~)l\))-a

I\)[\)N[\)I\)[\)[\)N[\)r-l)_\r-\r-l)-\»-r-¢)-l)-l>-¢
OO\lO\w-l>wl\>»-O\ooo\lo\m.c>wl\),_.@

L5-cV-O7586-SVW-KS Document 1 Filed 09/28/15 Page 1 of 10 Page |D #:1

STEPHEN YAGMAN
475 Washin ton Boulevard

Venice Beac , California 90292-5287 FILED
(310) 452-3200 cLERK u.s. nimmer count

2 8 2015

 

  
  

Presented on behalf of
Stephen Yagman

 

 

is HICT oF cALlFo -rr\uA

g @RHG!NA§, b BY , 1 , DK:PUTY

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

WESTERN DIVISION
STEPHEN YAGMAN, ' _
Petitioner, C v 1 5 "' 07 5 8 S"H&(Ki/S
PETITION
(28 U.s.C. § 1651(3))
v.

UNITED STATES OF AMERICA,

Respondent.

 

 

 

Petitioner, Stephen Yagman, petitions pursuant to 28 U.S.C. § l651(a), the

All Writs Act, for a Writ adjudging and declaring that his criminal convictions be

  
    

Vacated, and makes the following allegations in support of his petition:
//

 
  
 

     

//
// j
§i *-»-'"'»'Q§"\~i w‘§
// v c\erkb%%§-`r" lis-312v " "‘

 
    

 

 

Case 2:1

\OOQ\]O`\LJI-AL)JI\)*-\

[\)[\)[\)[\)[\)[\)[\_)[\)[\)r-\)-¢»-fr-¢)~)_¢r-l)_l»_¢>_\
OC\lO\Ul-l>~b~>l\)>-‘O\OGO\IO\LA-l>~wl\)>-*O

 

i5-cV-O7586-SVW-KS Document 1 Filed 09/28/15 Page 2 of 10 Page |D #:2

JURISDICTION

l. A more, usual remedy is not available for the relief sought.

2. The convictions were attacked earlier, and reasons exist for not attacking
the convictions earlier.

3. There are adverse consequences from the convictions sufficient to satisfy
the case or controversy requirement of Article III of the United States
Constitution.

4. The errors alleged are of the most fundamental character.

5. The issues that properly could be raised at trial were raised at trial.

6. The issues that properly could be raised on appeal were raised on appeal.

7. The issues that properly could be raised on a § 2255 habeas petition were
raised on habeas.

8. An order voiding the judgments of conviction is sought.

9. Therefore, this court has jurisdiction of the instant petition, pursuant to 28
U.S.C. § l651(a).

10.-99. Reserved.

GENERAL ALLEGATIONS

100. There are errors of both fact and of law.

101. Those errors of fact and of law affect the validity and regularity of the
judgments of conviction.

102. The convictions are in violation of the Constitution and laws of the
United States and petitioner is entitled to a writ to correct those violations.

lO3. A writ is required to achieve justice.

104. Should a writ not be issued, then wrongs would stand uncorrected

105. The results of petitioner's convictions persist, in that petitioner is
barred from practicing his legal profession, is required to continue to pay costs of
prosecution, any subsequent conviction may carry a heavier penalty, petitioner is

barred from possessing a gun, and petitioner's civil rights adversely are affected

 

 

. \Case 2:

\O¢>O\lO'\L/l-l>~L»~)l\))-l

[\)[\)l\)l\)l\)l\)l\)[\)[\.))-)-\»-n»_\)-\»-\)-\>-a»-a)-
OO\]O\M-D~W[\)'_‘O\OOO\]O`\LJ\-D~UJI\J’_‘O

 

i5-cv-07586-SVW-KS Document 1 Filed 09/28/15 Page 3 of 10 Page |D #:3

and therefore, petitioner is entitled to an unfettered opportunity to attempt to show
that his convictions were invalid.

106. But for the fundamental errors committed and alleged hereinbelow,
petitioner Would have obtained a more favorable judgment.

lO7.-l99. Reserved.

SPECIFIC ALLEGATTIONS

150. As matters of both fact and law, there was no proceeding in petitioner's
bankruptcy case, as the term proceeding properly is defined and understood in
bankruptcy practice.

151. A bankruptcy proceeding is an element of the offense under 18 U.S.C.
§ 157.

152. Because there was no proceeding, as a matter of fact and law, in
petitioner's bankruptcy oase, and because a bankruptcy proceeding is a legal
element of § 15 7, therefore there was no factual or legal basis for petitioner's
conviction under § 157 .

153. Petitioner could not legally be convicted under § 157 because there
was no bankruptcy proceeding

154. The proceeding issue was the most important issue to be appealed by
petitioner, and petitioner expressed that to his appellate counsel.

155. Petitioner and his legal counsel agreed that that issue would be raised
on appeal.

156. Petitioner drafted the part of the opening appellate brief on the
proceeding issue, and mailed it to appellate counsel.

157. Petitioner got no response from appellate counsel on this matter.

1586-199. R_eserved,

200. The legal representation of petitioner on his direct appeal fell below an

objective standard of reasonableness

 

 

, ,CaSeZ

\OOQ\]O'\Lh-I>~L»J[\))_¢

Nx\)z\)c\)t\)x\)t\)l\)l\.)»-‘»-l»->-‘»-‘»-‘
oo\\o\w.l>wr\>»-c>\ooo\io\m-l>;§:;

 

15-CV-07586-SVW-KS Document 1 Filed 09/28/15 Page 4 of 10 Page |D #:4

201. That representation fell below that standard for at least the following
reasons:

202. Petitioner requested, and his appellate counsel agreed, that the two
would consult with respect to the issues to be raised on appeal and on the opening
and reply briefs on appeal;

203. Appellate counsel did not consult with petitioner with respect to the
issues;

204. Appellate counsel agreed with petitioner's request that petitioner be
provided with the final copy of the opening brief on appeal in sufficient time
before the brief would need to be filed, so that petitioner could approve or
disapprove of the brief;

205. Appellate counsel never, at any time, provided petitioner with the brief,
and filed it without petitioner having seen it;

206. Petitioner had instructed appellate counsel to include as an issue on
appeal the issue raised by pretrial motion that as matters of both fact and law
petitioner could not have been convicted legally under 18 U.S.C. § 1957, because
as matters of both fact and law there never had been any proceeding in petitioner's
bankruptcy case, and petitioner had written the section of the opening brief to be
used on this issue and provided it to appellate counsel, but appellate counsel
ignored this issue and did not raise it on appeal. This conduct of appellate counsel
fell below an objective standard of reasonableness as indicated by prevailing
professional norms and petitioner suffered prejudice as a result of this: the issue
was not raised on direct appeal, the conviction was upheld, the issue was raised on
the § 2255 motion, but was held to be procedurally defaulted, the issue was raised
on permissive appeal from the § 2255 denial, but both the district court and the
appeals court refused to issue a certificate of appealability, so that the issue never
was fully, fairly, or finally adjudicated on its merits;

207. As a direct result of this, petitioner's § 157 conviction stands;

 

 

. .Case 2'1

\QOO\]O\Ul-l>b.>[\)>-a

[\)[\)[\)[\)I\)[\.)[\)l\)[\.)r-‘)-*»-»>-a»-rr_l)_\>_\)_\r-\
OQ\]O\Lll-I>~L)~)[\)'-*O\OOO\`|C`\LII-Lb~)l\))-\O

 

L5-cV-07586-SVW-KS Document 1 Filed 09/28/15 Page 5 of 10 Page |D #:5

208. As a result of this, appellate counsel actively misled petitioner on an
important matter related to petitioner's criminal prosecution and therefore was
ineffective in his representation of petitioner.

209. The proceeding issue is a most fundamental error because petitioner
was convicted of a crime under § 157 without one, significant element of that
crime having been proved, and thus, because of both factual and legal errors,
petitioner suffered a baseless and fundamentally erroneous conviction.

210. Petitioner, who was imprisoned nearly three thousand miles away from
his appellate counsel and who was unable to reach appellate counsel by telephone,
did everything he physically could do to attack his conviction on the proceeding
ground earlier but was completely stymied in that effort.

211. Petitioner was prevented from raising the proceeding issue by his
ineffective appellate counsel, who prevented petitioner from raising the issue on
direct appeal, and petitioner raised the issue in his § 2255 motion at the first
moment he had the ability to do that. l

212. Petitioner could not raised the proceeding issue on direct appeal
because his appellate counsel made that impossible

213. In effect, appellate counsel improperly advised petitioner not to pursue
his proceeding issue on appeal.

214. Appellate counsel's decision not to raise the proceeding issue on appeal
was not the product of reasonable professional judgment but instead was the
product of sloth and distraction, as during the three months before the opening
brief was filed in mid-September 2008 and until it was filed, appellate counsel was
fully engaged in physically moving both his family, his home and his legal
professorship from North Carolina to Irvine, California, and setting up a new law
school, and as a result of this did not have adequate time to devote to petitioner's

appeal, and neglected petitioner's appeal.

 

 

l l Ca§e 2:

\CCO\]O\Lh-l>~b~>l\))-\

l\)[\)[\)[\)[\)l\)[\)l\)[\))-l)-\)-‘)-\)-\>-a»-ar-l)-\)-‘
OO\]O\Ul-D~WNHC\OOONO\U\-I>~L»J[\)F_‘O

 

15-cV-07586-SVW-KS Document 1 Filed 09/28/15 Page 6 of 10 Page |D #:6

215. Thus, petitioner had sound reasons for not raising the proceeding issue
before the post-trial time at which he raised that issue.

216. After the district court pretrial ruled that a bankruptcy case and a
bankruptcy proceeding legally were the same, the law on this issue changed, so
that a bankruptcy case and a bankruptcy proceeding f`or the first time in the Ninth
Circuit, and at the Supreme Court,' authoritatively were held to be legally different
things, so that there was no bankruptcy proceeding with respect to petitioner.

217. There is a legitimate explanation for any contention that the proceeding
issue was not previously raised.

218. The evidence at trial as to the § 157 offense so predominated over
evidence as to any other charges so that the conviction under § 157 overpowered,
predominated over, and improperly influenced the convictions of the other
charges. l

219.-299. Reserved.

300. The jury was not adequately instructed and improperly was instructed
based on United States v. Milwitt because the instruction did not instruct the jury
that it needed to find an element of that offense -- a fraudulent scheme outside the
bankruptcy. Milwitt's holding that there be a scheme outside the bankruptcy was
not dictum.

301. There Were not factual or legal bases for the money laundering counts
because, inter alia, petitioner did engage in any monetary transaction using money
that he should have disclosed to the bankruptcy trustee.

302. The cumulative effect of the proceeding error, the Milwitt error, and
the money laundering error infected the jury's deliberations on the bankruptcy
fraud and money laundering counts (which are based on bankruptcy fraud), and
the vast majority of the evidence adduced at trial concerned 18 of the 19 counts

charged and 13 of the 14 counts on which the convictions stood, so that these

 

 

.,Casez

\OOQ\IO`\&!\-l>b~)l\.)>_~

N[\)I\)l\)l\)[\)l\)[\.)[\.))-l)-‘)-¢)-\)-\»_~H
oo\)o\m.l>.wl\.)»-‘c>\ooo\lc\m_l>w§:;

 

15-cV-07586-SVW-KS Document 1 Filed 09/28/15 Page 7 of 10 Page |D #:7

errors had a prejudicial, spill-over effect on the tax charge, and for these reasons
caused cumulative error.

303. Petitioner was vindictiver prosecuted because of his historical and
long-standing, aggressive civil rights advocacy, which made petitioner universally
reviled and despised by members of the law enforcement community, and
petitioner's prosecution was motivated by "vindictiveness toward him on the part
of investigating agents and members of the United States Attorney‘s Office.

Wherefore, petitioner requests that this court issue a writ, pursuant to the
All Writs Act, 28 U.S.C. § 1651, vacating petitioner's convictions for tax evasion,
bankruptcy fraud, and money laundering award costs to petitioner, and for such

other relief that may be just and proper.

By: 1
sI'EPHEN/YKGMAN

 

 

 

Case 2:15-cV-07586-SVW-KS Document 1 Filed 09/28/15 Page 8 of 10 Page |D #:8

1" UN|TED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CAL|FORN|A

 

 

 

 

 

 

 

 

ClVlL COVER SHEET
|. (a) PLA|NT|FFS ( Check box if you are representing yourself ) DEFENDANTS (Check box if you`are representing yourself [| )
STEPHEN YAGMAN
475 WASH|NGTON BOULEVARD UN|TED STATES OF AMER|CA
VENlCE BEACH, CA 90292-5287
(b) County of Residence of First Listed P|aintiff LOS ANGELES County of Residence of First Listed Defendant LOS ANGELES
(EXCEPT/N U.S. PLAINT/FF CASE$) (/N U. S. PLA/NT/FFCA$ES ONLY)
(c) Attorneys (Firm Name, Address and Te/ephone Number) |f you are _ Attorneys (Firm Name, Address and Te/ephone Number) |f you are
representing yourse|f, provide the same information. representing yourse|f, provide the same information.
475 WASH|NGTON BOULEVARD
VENlCE BEACH, CA 90292-5287, (301)452-3200
ll. BAS|S OF .|UR|SDICT|ON (Place an X in one box only.) lll. ClTlZENSH|P OF PR|NC|PAL PART|ES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
pTF DEF PTF DEF
1. U.S. Government 3. Federal Question (U.S. szen ofThis State l:] 1 [:| 1 ln€°r¢{°rat€_d Or _Pfin€ipa| Place |:| 4 4
P|aintiff E Government Not a Party) °f Bus'ness m th'$ State |:'
Citizen of Another State [:] 2 [:] 2 incorporated and Principa| P|ace |:I 5 |:I 5

2 U S G 4 D (| d C h of Business in Another State
. . . overnment lversity n lcate itizens lp Citizen or Subject of a F . N .

Defendant l:| of Parties ln |tem ll|) Foreign Country l:l 3 l___l 3 °'e'g“ at'°" l:l 6 l:l 6
|V. OR|GlN (Place an X m one box only.) 6_ Mu|ti_

1. Original 2. Removed from 3. Remanded from 4. Reinstated or 5. Transferred from Another District
Proceeding I::| StateCourt [] AppellateCourt |:] R€ODened DlS"'dlSPe°'fV) |:| Litigation

 

v.REQuEsTEDlN coMPLAlNT: JuRYDEMAND: Yes |:] No (Check"Yes" onlyifdemanded in complaint-1

CLASS ACTION under F.R.CV.P. 232' |:| Yes NO |:] MONEY DEMANDED lN COMPLA|NT: $ 0
Vl. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdictiona| statutes unless diversity.)
28 U.S.C. 1651 (ALL WRlTS ACT)

 

 

V|l. NATURE OF SU|T (Place an X in one box only).

       
  
    
   
  

 
  
      

 
  
     

        
    
  

   

   
  
  
 
  
  

    
  

 
     
 
  

 
    
  
    

  
      
  
 
  
  

     
  
  

  
  

  

       
   

 

 

 

   
      

 

 

 

 

 
 
 

 

 

[:| 375 Fa|$e C|aims Act l:| 1101nsurance 240Tortsto nd l:] 4A6 Iicaattqcr)arlization _ Habeascorpus: |:| 820 Copyrights
1:| 400 Stan [:| 120 Marine l:l 2.45 .T.°'t P'°duct pp l:| 463 A|ier_\ Defainee |:| 830 Parem
Reapportl<)nment L'ab"'fy 465 other m 510 Motronsto vacate
|:1 410 Antitrust 1:| 130 MillerAct |:] F2’90Al|0therReal |:l l igrationA ' Sentence l:l 840Trademark
. ro ert " " " 53OG | " `
|:| 430 Banksand Ba"king l:l in:(irii:?e(:iable ” ` p v y § 535 o::tehri>enalty 3l-ii/\¥(’isa‘sz)
l:| 353 C/ginmerce/|CC 150 Rec°"ery °f 6\/370010;’”000 j |:] 862 slack Lung (923)
a es C' [:] Overpayment& [:]mm 310Airp ane _ '
|'_"| 460 Deponation Engorcement of 315 Airp|ane I:] 371 Trufh ln L€ndlng [X| 540 Mandamus/Other [:] 863 DlWC/DlWW(405 (g))
m 470 Racketeer|nf|u- Ju gmem |:| Product'-'ab'|'ty |:] 380 OtherPersonal |:| 550 Civi|Rights [:] 364 SS|DTit|e Xv1
. 151 M d' A t 320 Assau|t,Libe|& Pro ert Dama e ..
enced&€°"uptor€i l:l 0 'Care C |:] S|ander 385}; yen D: e |:] 555 Prlson Condltlon |:| 865 RS|(405(9))
l:l 480 CO"SUm€fCr€d'f §§ R<TCOa/§ry§f |:| 330 Fed Emp|oyers' |:l Produ€rpuaiiilitymag ij 560 C"’"Deta'"ee ~
{:| 490 Cab|e/SatTV m L:a:l';é;d \;:t)em Liabi|ity , § ,, 14 1 Confditions of d <
.. l:| 340 Marine °n .'nemen.t`., … . ,:; ‘:] 870Taxes(U.S. Plaintiffor
850 Securities/Com- R f 422 Appea|28 _ t, ' ,, Defendant)
l:i d't` /E h 153 ecovery° 3_45 Marine Product [:I
3301$11 11"3 09“€'1’”"23“°* 0 m §§35,:131.»‘::;:1,11 n
er atu °">' e» ene l 5 423 Withdrawal28
l:l Actions 16Ostockholdel,s.|:| 350 MotorVehicle l___l U5C157 USC8 881
l:l 891 AgriculturalAcrs m Suits m 355 Mot<)rVehide ' ' ' l:| 690 ther
893 E . t l Product Liabi|ity 440 Oth C_ _|R_ ht _ .1 _ t 1 . h
nvironmen a 1900111€1 h P l er ivi lg s ':¢
l:i Matters l:] Contract |:| ?nigr(;t er emma l:| 4411/ming EA 71COFairLaborStandards
895 Freedom of lnfo. `
195 Contract 362 Personal injury-
i:| Act I:| Product Liabi|ity |:l Med Malpratice m ::§ Emp|f)y"/‘em [:] az?i-BbOr/Mgmt-
|:] 896 Arbitration 196 F h- 365 personal lnjury_ Ousmg _ ea ions
51 ram 'se |:] F’\'OdUCt Liabi|ity l:| Accommodat'ons |:| 740 Rai|way LaborAct
899 Admin. Procedures , ~ 367 Hea|th Care/ 445 Ame"€an Wlth
|:| Act/Review of Appea|of m and |:] Pharmaceutica| ij D'Sab'|mes' ij Z;;v|:ea/r\nc|iy and Medica|
AgenCy Decision Condemnation Personal injury Emp|oym€nt _
|:] 220 Forec|osure Product Liabi|ity 446 American with l:| 7_90 Other Labor
m 950 Constitutiona"tyof L & [:] 368 Asbestos l:l Disabilities-Other thlgatlon
230 Rer\t ease p rsona| 111 . _. , .. 1 791 Emp|oyee Ret.|nc.
State Statutes I:i Ejectment PeeWLigjqri,_t\s_j :f_. SecurityAct

FOR OFF|CE USE ONl.¥: Case Number:
CV-71 (10/14) ClVlL COVER SHEET Page 1 of 3

Case 2215-cv-07586-SVW-KS Document 1 Filed 09/28/15 Page 9 01 10 Page lD #:9
.-' §` ‘ uNiTED sTATEs DisTRicT couRT, cENTRAL DisTRicT oF cALiFoRNiA

ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's Generai Orders, upon review by the Court of your Complaint or Notice of Remova|.

 

from state court?

|:_j Yes [X] No

box to the right that applies, enter the
corresponding division in response to
Question E below, and continue from there

   

QUEST|ON B: ls the United States, or
one of its agencies or employees, a
PLA|NT|FF in this action?

|:| Yes |X| No

if "no, " skip to Question C. if "yes," answer
Question B.1, at right.

  
   
  

  

QUEST|ON C: ls the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

|Z| Yes E| No

if "no, " skip to Question D. lf "yes," answer
Question C.1, at right.

 

     

indicate the location(s) in which 50% or

QUEST|ON A`: Was this case removed "

if "no, " skip to Question B. |f "yes," check the

reside. (Check up to two boxes, or leave blank if none of these choices apply.)

 
   

 

 

 
 
  

B.1. Do 50% or more of the defenants who reside in

|:| Los Ange|es, Ventura, Santa Barbara, or San Luis Obispo Western
l:l Orange Southern
[:| Riverslde or San Bernardino Eastern

 

 

YES. Your case will initially be assigned to the Southern Division.

 

 

C.1. Do 50% or more ofthe plaintiffs who reside in the

the district reside in Orange C°-7 |j Enter "Southern" in response to Question E, below, and continue
from there. v
check one of the boxes to the right "'*
[:| NO. Continue to Question B.2.

B'z' p° _50% er m_°"e_°f th_e defendants Wh° reside in YES. Your case will initially be assigned to the Eastern Division.
the dis_t"€t reside m R'Ve"$'de and/er San Bema"d'n° [:] Enter "Eastern" in response to Question E, below, and continue
Counties? (Consider the two counties together.) from there
check one of the boxes to the right NO. Your case will initially be assigned to the Western Division.

d [:] Enter "Western" in response to Question E, below, and continue

  
  

 

from there.

YES. Your case will initially be assigned to the Southern Division.

 

 

 

more of plaintiffs who reside in this district

district reside in Orange C°'? |:| Enter "Southern" in response to Question E, below, and continue
from there.
check one of the boxes to the right 6
|X] NO. Continue to Question C.2.
c_'z' _D° Se% er m.°re ef the piaimiffs Wh° reside in the YES. Your case will initially be assigned to the Eastern Division.
distr'ci; res'de m iiiver$'de and/°r Sa_n Bema"d'n° |:| Enter "Eastern" in response to Question E, below, and continue
Counties? (Consider the two counties together.) from there
check one of the boxes to the right » NO. Your case will initially be assigned to the Western Division.
|Z| Enter "Western" in response to Question E, below, and continue

 

from there.

 

 

 

   
 

indicate the location(s) in which 50% or

a

 

ls there at least one

l:l Yes

D.1.

Enter "Southern" in response to Questio

 

CV-71 (10/14)

distr|ict) reside. (Check up to two boxes, or leave blank if none of these choices

if "yes," your case will initially be assigned to the
SOUTHERN DlV|S|ON.

if "no," go to question DZ to the right.

more of defendants who reside in this

answer in Co|umn A?

-No

n E, below, and continue from there.

!>

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

ClVlL COVER SHEET

 
     
     
   
  
 

if "no," your case will be assigned to the WESTERN DlV|S|ON.

WESTERN

      

D.2. ls there at least one answer in
l:| Yes No

lf "yes," your case will initially be assigned to the
EASTERN DlV|S|ON.

Enter "Eastern" in response to Question E, below,

/ a

Co|umn B?

   

Enter "Western" in response to Question E, below,

 
 
  
 

 

  

/,¢§;

 
      

l:| Yes No

Page 2 of 3

 

/ v
)\

Case 2:15-cv-07586-SVW-KS Document 1 Filed 09/28/15 Page 10 01 10 Page lD #:10
" ’ uNiTED sTATEs DisTRicT couRT, cENTRAL DisTi=iicT oF cALiFoRNiA

ClVlL COVER SHEET

lX(a). |DENTlCAL CASES: Has this action been previously filed in this court? NO [:l YES

if yes, list case number(s):

 

lX(b). RELATED CASES: ls this case related (as defined below) to any civil or criminal case(s) previously Hled in this court?

lfyes, list case number(s):

1:1 No YES

POSSIBLY, CR-06-227-SVW

 

Civil cases are related when they (check all that apply):

|:| A. Arise from the same or a closely related transaction, happening, or event;

|:| B. Call for determination ofthe same or substantially related or similar questions of law and fact; or

l:| C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

I:] A. Arise from the same or a closely related transaction, happening, or event;

l:l B. Call for determination ofthe same or substantially related or similar questions of law and fact; or

C. involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by differentjudges.

 

X. S|GNATURE OF ATTORNEY

(0R sELF-REPRESENTED LiTiGANT): /5/ STEPHEN YAGMAN DATE= 09/10/15

 

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Loca| Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation
861 , H|A
862 BL
863 DlWC
863 DlWW
864 SSlD
865 RSI

Substantlve Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services underthe program.
(42 U.S.C. 1935FF(b)) .

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Hea|th and Safety Act of 1969. (30 U.S.C.
923) .

All claims filed by insured workers for disability insurance benefits underTit|e 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed underTitle 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits underTit|e 2 of the Social Security Act, as amended.
(42 u.s.c. 405 (g))

 

CV-71 (10/14)

' ClVlL COVER SHEET Page 3 of 3

